            Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 1 of 32

    AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT
                        AND ARREST WARRANT
           I, Tyler Bolen, being first duly sworn, hereby depose and state as follows:

                    I.      INTRODUCTION AND AGENT BACKGROUND
           1.     I make this affidavit in support of an application for a search warrant, under Rule
41 of the Federal Rules of Criminal Procedure, and in support of a criminal complaint and

application for an arrest warrant.

           2.     I am a Special Agent with the United States Forest Service (the “USFS”), and

have been for three years. Prior to this, I was a USFS Law Enforcement Officer for nearly eight

years. I am currently assigned to the Shasta-Trinity National Forest; however, I periodically
investigate crimes on other National Forests such as the Lassen National Forest. I am

authorized, and presently assigned, to investigate and enforce violations of federal law that affect

national forest lands, including willfully setting fire to any timber, underbrush, or grass upon

lands owned by the United States, in violation of 18 U.S.C. § 1855.

           3.     I received eight months of full time, formalized training at the Federal Law
Enforcement Training Center in Brunswick, Georgia. In addition to my other law enforcement

duties, I am a fully qualified wildland fire investigator, having completed the following courses:

Fire Investigation 210—Wildland Fire Origin and Cause Investigation Course, and Fire

Investigation 310—Wildland Fire Investigation Case Development Course. During these

courses of training, I received training in the professional standards of wildland fire
investigation, fire behavior, identifying and recognizing burn patterns, identifying and collecting

fire scene evidence, investigation methodology, interviewing, search warrant development, and

courtroom preparation and testimony. Additionally, I hold a Master of Arts degree in Criminal

Justice.

           4.     I am a “law enforcement officer” of the United States within the meaning of that
term contained at 18 U.S.C. § 2510(7). I am empowered by law to conduct investigations of, and

to initiate arrests for, various offenses that occur on or affect national forest lands.
           5.     In addition to my training, I am an experienced wildland fire investigator. From
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 2 of 32

2013 through 2015, I was a member of the USFS Region 3 Fire Investigation Team that

responded to complex fire investigations in Arizona and New Mexico. From 2016 through 2018,

I was a member of the USFS Region 5 Fire Investigation Team in California, while also serving

as a wildland fire investigation instructor responsible for training new investigators. During the

course of my career, I have prepared, sworn to, and served over fifty federal search warrants

associated with private properties, public land sites, internet and cellular-based companies,
cellular phones, and vehicle tracking devices. I have investigated over fifty wildland fires,

including many fires determined to be acts of arson. I have investigated, identified,

apprehended, and interviewed several wildland arson suspects to include suspected serial

arsonists that have set multiple fires over various periods of time. I have been the affiant on

federal search warrants associated with cellular phones and vehicles possessed and used by
arsonists during the commission of their arson crimes and have obtained evidence of arson

during the course of these lawful searches. The facts in this affidavit are based on my personal

observations and on my training and experience, as well as on consultations with other

investigators.

                        II.      SCOPE OF REQUESTED WARRANTS
       6.        Based on the facts set forth below, I submit that probable cause exists to believe

that violations of 18 U.S.C. § 1855 (the “specified federal offense”), with respect to the “Ranch

Fire” in Lassen County, California, was committed by GARY STEPHEN MAYNARD who

agents have observed living out of his vehicle, which is a black 2012 Kia Soul displaying
California license plate 6XBA609.

       7.        This affidavit is submitted in support of an application for a warrant to search a

black Kia Soul (the SUBJECT VEHICLE), with California license plate 6XBA609, a vehicle

more fully described in Attachment A in order to locate and seize the items described in

Attachment B as evidence or instrumentalities of the specified federal offenses.
       8.        This affidavit is also made in support of a criminal complaint and application for a
warrant to arrest GARY STEPHEN MAYNARD for committing the specified federal offense for

willfully setting fire to lands owned by or under the jurisdiction of the United States.


  AFFIDAVIT OF TYLER BOLEN                        2
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 3 of 32

       9.      This affidavit is intended to show merely that there is sufficient probable cause

for the criminal complaint and requested warrants and does not set forth all of my knowledge

about this matter.

                                    III.      BACKGROUND

       A.      Fire Investigation Techniques.
       10.     As a wildland fire spreads, it leaves behind fire pattern indicators. Fire pattern
indicators are physical objects that display changes from exposure to heat, flame, and

combustion byproducts. Analyzing fire pattern indicators helps fire investigators determine the

origin of wildland fires because accurate analysis of fire pattern indicators reveals the direction

in which wildland fires spread. Additionally, wildland fire investigators can use fire pattern

indicators to determine the location where wildland fires originally ignite through a process
known as “backtracking.”

       11.     Upon locating the origin location of a wildland fire, wildland fire investigators

then determine the cause of the fire. Based on my training and experience, I know that there are

nine causal categories of wildland fires. These categories are, in no particular order:

(i) lightning, (ii) campfires, (iii) smoking, (iv) debris burning, (v) arson/incendiary, (vi)
equipment use, (vii) railroads, (viii) children, and (ix) miscellaneous. The miscellaneous

category includes several sub-categories of fire causes such as fireworks, firearms, and welding.

       12.     To determine the cause of a wildland fire, fire investigators engage in a systematic
examination of the fire’s origin location and adjacent area. This analysis leads to the exclusion
of causal categories for which no evidence exists. For example, if fire investigators find no

evidence of equipment use within the fire’s general origin area, then the wildland fire

investigators can and do logically exclude equipment use as the fire’s cause. This systematic

methodology, which requires a careful examination of a fire’s origin location and adjacent area,

eventually leads to fire investigators making a causal determination. Typically, this
determination occurs once fire investigators logically exclude all but one cause of the wildland
fire based on evidence recovered within the fire’s origin area and adjacent area.
       13.     As stated above, one of the nine causal categories of wildland fire is


  AFFIDAVIT OF TYLER BOLEN                        3
           Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 4 of 32

arson/incendiary—fires that are deliberately or maliciously set by humans. Based on my training

and experience, I know that there are many indications of arson-caused fires, including the

following:
       •       They often ignite in areas where other arson-suspected fires have been set in the

               past;

       •       They are commonly set near roads that can accommodate motor vehicle travel;

       •       They are frequently characterized by a lack of causal evidence within the origin
               location and surrounding geographic area, because of the ease with which an
               arsonist can ignite a wildland fire simply by applying a lighter to brush;
       •       They are often set during low-traffic conditions, such as nighttime hours, as this

               reduces the risk they will be seen by witnesses.

       B.      Locations Where Evidence Is Likely to Be Found.
       14.     Based on my training and experience, I know that arsonists need a physical
location to store items relating to their illegal activities. Such items can include, but are not

limited to, incendiary materials or devices, maps, instructional manuals, photographs, and other

materials. In my training and experience, arsonists frequently store such items in their personal

vehicles under their dominion and control.

       15.     Based on my training and experience, I also know that arsonists derive pleasure
and satisfaction from observing first responders react to the fires that arsonists set. Indeed,
experiencing this pleasure and satisfaction is one of the primary motivators for arsonists to set

fires. One way for arsonists to preserve these feelings of pleasure and satisfaction is to take

photographs or record video footage of first responders reacting to fires that arsonists set. These
photograph and video files are frequently stored in arsonists’ private residences, on their mobile

cellular devices, or on their personal computers contained in their residences.

       16.     Based on my experience and knowledge obtained from other agents, I know that

cellular phones are commonly in the possession of the vast majority of people, including
arsonists. I know that arsonists have been known to use their cellular phones’ Internet browsing
capabilities to research arson crimes, techniques, and arson laws. I further know that individuals


  AFFIDAVIT OF TYLER BOLEN                        4
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 5 of 32

have been known to upgrade the physical devices associated with a cellular phone number while

retaining the older replaced devices under their possession and control.

IV.     ARSON INVESTIGATIONS ON THE SHASTA TRINITY NATIONAL FOREST


       A.      Investigation of the Cascade Fire on July 20, 2021

       17.     On July 20, 2021, at approximately 9:45 a.m., a wildland fire was reported by a
mountain biker in the Sand Flat area on the western slopes of Mt. Shasta. I spoke with this

mountain biker who advised that he had smelled smoke while riding his bike. The mountain

biker eventually spotted the fire burning along the forest floor several hundred feet from the dirt
road. This fire was later designated as the Cascade Fire. This mountain biker and a fellow

mountain biker were very concerned and jumped into action by stomping along the edge of the

ground fire and digging around its perimeter in efforts to prevent its spread. The mountain biker

also called 911 to report the wildfire. At approximately 10:25 a.m., firefighters arrived on scene.

The actions of the mountain bikers and final suppression efforts of the firefighters prevented the
Cascade Fire from developing into a large-scale wildfire and was ultimately contained to an

approximate 100-200 square feet area of burned vegetation. The Cascade Fire occurred on

federal lands designated as the Shasta-Trinity National Forest within the Eastern District of

California.
       18.     USFS Fire Investigator (Inv.) Brian Murphy responded to this newly reported fire
in order to conduct an origin and cause investigation. Inv. Murphy has been a certified wildland

fire investigator for six years and has investigated over thirty wildland fires.
       19.     Inv. Murphy1 conducted an origin and cause investigation of the Cascade Fire.

Inv. Murphy located and examined the origin of the Cascade Fire and did not locate any sources

that could have ignited the fire. After considering the nine causal categories of wildland fire,

Inv. Murphy excluded all potential causes of this fire, except arson. After visiting the scene and

reviewing the facts in the case, I concurred that the ignition of this fire was not only suspicious,




  AFFIDAVIT OF TYLER BOLEN                        5
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 6 of 32

but consistent with arson.

       20.     This remote area of the Cascade Fire receives little traffic. To access the area,
motorists turning off of the Everitt Memorial Highway, must drive several miles along Sand Flat

Road—a dirt road that winds through a portion of the western slopes of Mt. Shasta. Eventually,

in order to access the area of the Cascade Fire, motorists must turn and travel along a non-

maintained dirt road that is fairly rough. This un-named dirt road is occasionally used by off-

road enthusiasts. The Cascade Fire was situated approximately 75 yards from this un-named dirt
road where there are no developed recreational sites or trails.

       21.     On this day, Inv. Murphy observed two vehicles parked along this un-named dirt

road approximately 150-200 yards from the Cascade Fire. Inv. Murphy first approached the

closest vehicle to the Cascade Fire, a black Kia Soul displaying California license plate

6XBA609 (the SUBJECT VEHICLE). At that time, the SUBJECT VEHICLE’s front tires were
positioned in a deep rut and the rear underside was high-centered on a large boulder. Inv.

Murphy observed a white male laying on the ground underneath the SUBJECT VEHICLE and

was digging and moving about in efforts to free the SUBJECT VEHICLE from its immobile

position. Inv. Murphy introduced himself as an official with the Forest Service and requested the

man’s name. This man did not come out from under the vehicle and did not identify himself, but
instead stayed under the vehicle and mumbled words that Inv. Murphy could not understand.

Inv. Murphy advised this man that he would like to ask him a few questions. The man quit
digging and stood up. Inv. Murphy began to ask questions about the nearby fire to which this

man responded that he did not know anything about any fires. As Inv. Murphy attempted to ask

additional questions, this man asked Inv. Murphy to pull his SUBJECT VEHICLE from its stuck
position. Inv. Murphy replied that he was not authorized to use his government vehicle to tow

other vehicles. Upon hearing this, the man appeared agitated, and turned away from Inv.

Murphy where he returned to digging and working to free the SUBJECT VEHICLE from its

position. Inv. Murphy recognized the man’s uncooperative and agitated behavior and felt it was
safest to distance himself from this man. Prior to departing, Inv. Murphy took a photograph of

the SUBJECT VEHICLE.


 AFFIDAVIT OF TYLER BOLEN                        6
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 7 of 32

        22.     Inv. Murphy later advised me the driver of the SUBJECT VEHICLE was a white

male that stood approximately six feet tall, with an average size frame, short brown hair, and

wore glasses. Inv. Murphy also recalled during his brief interaction that he had asked this man

where he was from, to which this man mumbled something about being a professor at a

university down south. I believe this man, as further discussed in this affidavit, was the

registered owner of the SUBJECT VEHICLE, Gary MAYNARD. Because Inv. Murphy recalled
this man, suspected to be MAYNARD, stated he was a university professor, I conducted a

public internet search and observed pictures of a Dr. Gary Maynard, who is listed on public

internet sites as a professor at various universities in California. I observed these pictures of Dr.

Gary Maynard matched the California driver’s license picture of the SUBJECT VEHICLE’s

registered owner, Gary MAYNARD.
        23.     Inv. Murphy then proceeded to the second vehicle that was parked approximately

100 feet away from the SUBJECT VEHICLE. Inv. Murphy found it was occupied by one man,

further referred to as Witness 1. Witness 1 advised that he had been parked in that location since

the previous day. Witness 1 advised Inv. Murphy that he was not sure how the wildfire started.

Witness 1 said that the SUBJECT VEHICLE had showed up earlier that morning before the
wildfire started.

        24.     On July 21, 2021 (the next day), Inv. Murphy and I returned together to the scene

of the Cascade Fire. The SUBJECT VEHICLE was no longer present, however, Witness 1 was
still present in the same location. At this time, Witness 1 further described his observations

during the time that the Cascade Fire ignited the previous day. Witness 1 stated that he not seen
any people or vehicles around the area until the SUBJECT VEHICLE arrived several hours

before the fire ignited. Witness 1 recalled the SUBJECT VEHICLE had attempted to drive

across the partially buried boulder that was situated within the rough road-bed and became high-

centered and immobile.
        25.     Witness 1 recalled the driver of the SUBJECT VEHICLE was alone. Witness 1
told me this driver seemed very angry and at one point threw things out of the SUBJECT

VEHICLE and on to the ground. Witness 1 stated that he had brief interactions with the driver


  AFFIDAVIT OF TYLER BOLEN                        7
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 8 of 32

of the SUBJECT VEHICLE but described concerns about the man’s enraged behavior and said

that, at one point, the man pulled out a large knife and looked towards Witness 1 for unknown

reasons. Witness 1 believed the man was mentally unstable, describing the man as, “mumbling a

lot and having bipolar-like behavior.” Witness 1 did not feel comfortable around the driver of

the SUBJECT VEHICLE and mostly stayed near his own vehicle approximately 100 feet away.

       26.      At one point, later that morning, Witness 1 recalled watching the driver of the
SUBJECT VEHICLE walking away in the same direction that the Cascade Fire soon ignited.

Witness 1 said that the driver was gone for approximately ten minutes, then returned to the

SUBJECT VEHICLE. At some point that morning, after the driver returned to the SUBJECT

VEHICLE, Witness 1 recalled seeing the smoke from the Cascade Fire.

       27.      Witness 1 recalled the driver of the SUBJECT VEHICLE standing approximately
six feet and one inch tall, weighed approximately 200 pounds, had short/thin brown hair, and

wore glasses.

       28.      After meeting with Witness 1, I proceeded to examine the location where the

SUBJECT VEHICLE had been photographed by Inv. Murphy in its stuck position within the

rough roadbed. During my examination of this location, I noticed a small burned area on the
ground just a few feet off the road. The small burned area consisted of burnt sticks and burned

material that was consistent with newspaper. I could still see what looked to be newspaper print

on some of the partially burned pieces. The small ground fire had been set along the forest floor
and the ashes and the burned paper was still fluffy and grey which indicated that the fire had not

been extinguished with water. Instead, the fluffy ash and fine pieces of paper were still in-tact,
indicating that the fire had burned out on its own. There was no evidence of a campfire or a

campfire ring; the small fire had been set directly on the uncleared forest floor along the road

where the SUBJECT VEHICLE had been recently positioned.

       29.      Inv. Murphy and I further examined the nearby forest floor and located a second
small burned area that once again consisted of small pieces of burned wood and a material that
was consistent with newspaper. This fire, too, had been ignited directly on the forest floor and

just a few feet from where the SUBJECT VEHICLE had been stuck, except that it had been set


 AFFIDAVIT OF TYLER BOLEN                        8
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 9 of 32

on the opposite side of the road. This small fire also contained fluffy ashes, with fine pieces of

burned paper still in-tact, while exhibiting no evidence that the fire had been extinguished with

water or any other means such as stomping, scraping, or stirring the ground. This fire’s

appearance also indicated that the fire had burned out on its own.

       30.     The two small ground fires were each determined to be acts of arson and, indeed,

classified as two additional arson fires. During my examination of this location, I also located a
wooden match on the ground at the location where the SUBJECT VEHICLE had been stuck.

The match head was still in-tact, indicating that this particular match had not been used.

       31.     The dirt roadbed where the SUBJECT VEHICLE had been stuck and eventually

travelled through contained the tire track impressions for the SUBJECT VEHICLE.

Additionally, Inv. Murphy’s photograph of the SUBJECT VEHICLE includes an angle of the
tires. I reviewed this photograph and could see that the tread pattern, as photographed on the

tires of the SUBJECT VEHICLE, matched the tire track impressions in the soil.

       32.     I took measurements of these tire track impressions that still remained in the soil

where the SUBJECT VEHICLE had been recently stuck. The width of the tire impressions on

the dirt road was approximately 7 ½ inches in length. The width of the wheel base, which I
measured from the outer edge of the driver-side tire impressions to the outer edge of the

passenger-side tire impressions, was approximately 5’ 9” to 5’ 10” in length. I located these

same tire tread impressions and tire impression dimensions at a second arson fire, further
discussed below.

       B.      Investigation of the Everitt Fire on July 21, 2021
       33.     On July 21, 2021 at approximately 2:50 a.m., a USFS fire engine crew was

travelling along the Everitt Memorial Highway when the fire crew observed the glow of a new
fire burning nearby. The fire was burning in vegetation along Forest Service Road 40N88,

approximately 200 yards from the Everitt Memorial Highway. This new fire, designated as the

Everitt Fire, had also ignited along the western slopes of Mount Shasta, federal lands designated
as the Shasta-Trinity National Forest within the Eastern District of California. The fire crew,

having spotted the recently ignited fire, was able to quickly contain the fire at less than one acre


  AFFIDAVIT OF TYLER BOLEN                       9
           Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 10 of 32

in size.

           34.   On this same morning, Inv. Murphy conducted an origin and cause investigation

of the Everitt Fire. Inv. Murphy located and examined the origin of the Everitt Fire. After
considering the nine causal categories of wildland fire, Inv. Murphy excluded all potential causes

of this fire, except arson. Inv. Murphy did not locate any sources that could have ignited the fire

within its area of ignition.

           35.   On this same morning, I also arrived on scene of the Everitt Fire. This was the
second wildland arson fire in less than twenty-four hours on Mount Shasta near the Everitt

Memorial Highway. After visiting the scene and examining the area, I concurred that the

ignition of this fire was not only suspicious, but once again consistent with arson.

           36.   I observed the Everitt Fire had ignited along the dirt road and I began examining

tire track impressions left behind in the soil. Beginning near the fire’s edge, I observed three sets
of different tire impressions on the road. Two of the tracks were consistent with aggressive (all-

terrain/ mud tire tread) tires used by responding fire trucks. I observed the third set of tire

impressions to be similar to the SUBJECT VEHICLE’s tire impressions and noted how the more

aggressive fire truck tire impressions crossed over on top of the suspected SUBJECT

VEHICLE’S tire impressions—indicating that the SUBJECT VEHICLE had driven along the
dirt road prior to the arrival of the fire trucks. A short distance later, there was a wide shoulder

along the dirt road and I observed tire impressions consistent with one of the fire trucks having
turned around and returned to the fire.

           37.   At that point, there were two tire impression tracks that continued along the dirt
road, with the fire truck tire impressions crossing over on top of the suspected SUBJECT

VEHICLE’s impressions—indicating that the SUBJECT VEHICLE had driven along the dirt

prior to the arrival of the fire truck. I later identified this specific fire truck and matched its tire

impressions to the impressions left behind in the soil. I continued following the two different tire

track impressions until I reached a point that was approximately 200 yards north of the Everitt
Fire. It was here that the dirt road widened again and was wide enough for a vehicle to turn

around. It was here that tire impressions consistent with the SUBJECT VEHICLE had turned


  AFFIDAVIT OF TYLER BOLEN                          10
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 11 of 32

around and travelled back towards the Everitt Fire and the Everitt Memorial Highway. I took

measurements of these tire impressions. The width of the tire impressions was approximately 7

1/2 inches in length. The width of the wheel base, which I measured from the outer edge of the

driver-side tire impressions to the outer edge of the passenger-side tire impressions, was

approximately 5’ 9” in length. I observed the tire tread pattern, the width of the tire impressions,

and the width of the wheel base impressions to be the same as the SUBJECT VEHICLE.

       C.      Further Investigation of Maynard and the Subject Vehicle
       38.     I reviewed the registration records for the SUBJECT VEHICLE maintained by

the California Department of Motor Vehicles. The registration record shows that California

license plate 6XBA609 is assigned to a 2012 Kia, which is the same make as the SUBJECT
VEHICLE. The SUBJECT VEHICLE’s registration record lists the owner as Gary MAYNARD

and an address of 164 South Morrison Avenue, San Jose, California 95126. According to the

California Department of Motor Vehicles (DMV), MAYNARD has a valid California driver’s

license that was issued in 2020, which also lists his address as [XXX] South Morrison Avenue,

San Jose, California 95126. I obtained a copy of the California DMV picture on file for
MAYNARD and showed this picture to Inv. Murphy. Inv. Murphy looked at this driver’s

license picture and told me that MAYNARD looked similar to the man he saw with the

SUBJECT VEHICLE.

       39.     According to the physical characteristics listed on MAYNARD’s driver’s license,
MAYNARD is a white male, is 5’11” tall, weighs 175 pounds, has short/thin brown hair, and is

required to wear corrective lenses when driving a vehicle. These physical characteristics

displayed on MAYNARD’s driver’s license are similar to the descriptions of the driver of the

SUBJECT VEHICLE as provided by Inv. Murphy and Witness 1.

       40.     Although MAYNARD’s California driver’s license and MAYNARD’s
registration record of the SUBJECT VEHICLE both list [XXX] South Morrison Avenue, San

Jose, California 95126, I do not believe MAYNARD currently resides there. During the course
of this investigation, I consulted with the San Jose Police Department’s dispatch services who

advised me that in October of 2020, a concerned citizen had contacted the San Jose Police


  AFFIDAVIT OF TYLER BOLEN                       11
           Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 12 of 32

Department with concerns about their colleague, MAYNARD who worked as a professor at

Santa Clara University. This concerned citizen told officers that MAYNARD had told her he

was suffering from anxiety, depression, split personality, and that he wanted to kill himself. This

concerned citizen said that MAYNARD had moved out and was possibly living somewhere out

of his vehicle. A dispatcher with the San Jose Police Department advised me that officers drove

to this address on July 22, 2021 and July 25, 2021 and did not see the SUBJECT VEHICLE
present.

       D.       Investigation of Maynard’s Suspected Cell Phone Number
       41.      This concerned citizen gave the San Jose Police officers a phone number for
MAYNARD. This phone number was (XXX) XXX-0738 (Maynard’s suspected cell phone

number).

       42.      In an effort to further determine whether this was a valid phone number for

MAYNARD, I spoke with Special Agent Jeremy Smart with the U.S. Department of Agriculture
(USDA), Office of Inspector General. Agent Smart, having access to the USDA Electronic

Benefits Transfer (EBT) database, checked if MAYNARD was a carrier of an EBT card. Agent

Smart advised me that MAYNARD indeed has an active EBT account and this account lists

MAYNARD’s phone number as (XXX) XXX-0738—the same phone number that
MAYNARD’s colleague had given to the San Jose Police Department in 2020. Agent Smart

further advised that according to recent activity, MAYNARD used this same phone number on

July 26, 2021, to check his EBT account balance.

       43.      Additionally, Agent Smart advised me that MAYNARD had used his EBT card

during the course of several recent purchases made at: a Safeway store in San Francisco,
California on July 12, 2021; a Safeway store in Fortuna, California on July 18, 2021; and a

Safeway store in Susanville, California on July 24, 2021.

       44.      As previously discussed, the dates of the arson fires in the Mount Shasta area

were July 20 and 21, 2021. Prior to these fires, on July 18, 2021, the EBT card was used in
Fortuna, California. Fortuna is situated along the northern California coast approximately 223
miles west of Mount Shasta. Following this transaction, there was a six-day gap where no EBT


 AFFIDAVIT OF TYLER BOLEN                       12
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 13 of 32

transactions were recorded, which is during the time period of the arson fires. Then, the next

transaction was made in Susanville, California on July 24, 2021. Susanville is located

approximately 131 miles southeast of Mount Shasta. The locations of MAYNARD’s EBT

transactions indicate that MAYNARD has been recently travelling throughout vast areas of

northern California.

       45.     Agents reviewed video recordings that had been captured on July 24, 2021 from
inside the Safeway store located at 2970 Main Street, Susanville, California 96130 during the

time period that MAYNARD had used his EBT card. Agents observed the individual that was

using MAYNARD’s EBT card closely resembled MAYNARD. I showed this Safeway video

recording to Inv. Murphy who advised me this was the same man he observed with the

SUBJECT VEHICLE during his investigation of the Cascade Fire on July 20, 2021.
       46.     MAYNARD’s suspected cell phone number, (XXX) XXX-0738, is a Verizon

wireless phone number. On July 26, 2021, I submitted a preservation letter to Cellco Partnership

DBA Verizon Wireless, requesting that they preserve all records associated with this phone

number between July 1, 2021 and August 1, 2021. This includes certain records such as call

detail records, text messages, multi-media messages, cell site data, location information, and
subscriber information.

       E.      Bradley Fire on July 11, 2021
       47.     Prior to the July 20 and 21, 2021 arson fires in the Mount Shasta area, agents
investigated a wildland fire that ignited on July 11, 2021 on federal lands designated as the

Shasta-Trinity National Forest south of the Mount Shasta area. This fire, designated as the

Bradley Fire, destroyed over 300 acres of the national forest. Agents completed an origin and

cause investigation of the Bradley Fire. The ignition site was located near a dirt road where
someone had started the fire directly on top of the forest floor without clearing away any debris

adequate to prevent a fire’s escape. Agents located a frying pan which indicated this ignition site

may have been used as a cooking fire. However, because of the negligence in starting a fire on
the uncleared forest floor during high-fire danger levels, agents were unable to rule out arson as a

possible cause behind this fire’s ignition. The investigation of the Bradley Fire is ongoing, with


 AFFIDAVIT OF TYLER BOLEN                       13
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 14 of 32

no criminal charges having been filed.

       48.     During the course of this investigation, agents documented and took
measurements of the suspect vehicle’s tire impressions that were left behind on the soil next to

the ignition site of the Bradley Fire. These were the only tire impressions located in this remote

area. I compared the tire impressions left behind at the two Mount Shasta arson sites to the tire

impressions left behind at the Bradley Fire. The wheel base dimensions are similar,

approximately 5’9” wide. The tire track impressions left behind at the Bradley Fire did not leave
a crisp-looking tire tread pattern in the soil and agents attributed this to the very soft and sandy

soil composition at the Bradley Fire. Nonetheless, the less visible tire tread pattern left behind at

the Bradley Fire appeared similar to the SUBJECT VEHICLE.

       49.     Also, during this comparison, I observed there was a difference in the width of the

tire impression itself. The width of the tire impression left behind at the Bradley Fire was
approximately 1-2 inches wider than the tire impressions left behind in the soil of the two arson

fires on Mount Shasta. However, the soil composition at the Bradley Fire is much softer and

sandier than the soil composition located at the higher altitude of the two arson fires on Mount

Shasta. On July 26, 2021, agents conducted a test by driving along the soil at one of the Mount

Shasta arsons (Everitt Fire) and taking a measurement of the width of their tire impression in the
soil. Then agents conducted the same procedure at the site of the Bradley Fire where the soil

composition is much softer and sandier. At the conclusion of this test, agents discovered that the
measurement of their tire track impression left behind on the soil at the scene of the Bradley Fire

was 1-2 inches wider. This comparison indicates that the tire impressions left behind at the

Bradley Fire are similar to those of the SUBJECT VEHICLE.

       F.      Sweetbriar Fire on July 6, 2021
       50.     During the late-night hours of July 6, 2021, firefighters responded to a reported
fire burning along Interstate 5, just south of Dunsmuir, California. This area is located

approximately 12 miles south of Mount Shasta. Investigators did not locate any evidence or
sources that could have ignited the fire, later designated as the Sweetbriar Fire. The fire burned

less than one acre of state land. The ignition site was located near a northbound interstate exit


  AFFIDAVIT OF TYLER BOLEN                        14
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 15 of 32

(Connant Road) where there is a large dirt parking area. The Sweetbriar Fire was determined to

be arson caused by an unknown person. Although investigators did not find any physical

evidence, the Sweetbriar Fire also bears the hallmarks of wildland arson.

       G.      Cellular Phone Search Warrants served on July 29, 2021
       51.     On July 29, 2021, I applied for two search warrants for MAYNARD’s suspected
cellular phone number. One of these search warrant applications was for precise cell-phone

locations of MAYNARD’s suspected phone number and the second search warrant application

was for historical cell-site information for MAYNARD’s suspected phone number.

       52.     On July 29, 2021, U.S. Magistrate Judge Dennis M. Cota issued a search warrant

that required Cellco Partnership DBA Verizon Wireless to disclose precise cell-phone locations
of MAYNARD’s suspected cell phone number pursuant to search warrant number 3:21-sw-

0013-DMC. On this same day, U.S. Magistrate Judge Dennis M. Cota issued a search warrant

that required Cellco Partnership DBA Verizon Wireless to disclose historical cell-site

information for MAYNARD’s suspected cell phone number pursuant to search warrant number

3:21-sw-0014-DMC. Following the issuance of these search warrants, on this same day, I served
these two search warrants on Cellco Partnership DBA Verizon Wireless.

       53.     On July 30, 2021, Cellco Partnership DBA Verizon Wireless began electronically

sending agents locations of MAYNARD’s suspected cell phone number. The locations were

being sent to agents about every fifteen minutes and show MAYNARD’s suspected cellular
phone signal locations in a latitude and longitude format. The locations sent by Cellco

Partnership DBA Verizon Wireless include a weblink of each location via Google maps. On this

day, beginning at approximately 9:49 a.m., the location of MAYNARD’s cellular phone number

was showing cellular signals in Susanville, California with an approximate six-hundred meter

radius. Susanville, California is a city located in Lassen County within the Eastern District of
California.

       H.      Vehicle Tracker Search Warrant
       54.     On August 1, 2021, while positioned along Conard Road on the Lassen National
Forest, agents observed MAYNARD driving the SUBJECT VEHICLE. A short time later,


 AFFIDAVIT OF TYLER BOLEN                       15
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 16 of 32

agents observed MAYNARD with the SUBJECT VEHICLE at the Safeway store in Susanville,

California, prior to returning to the Lassen National Forest. After these agents had confirmed that

MAYNARD was still operating the SUBJECT VEHICLE, on this same day, I applied for a

vehicle tracking warrant for the SUBJECT VEHICLE. Later this same day, U.S. Magistrate

Judge Dennis M. Cota issued a vehicle tracking warrant that authorized agents to install a

tracking device on the SUBJECT VEHICLE.
       55.     On August 3, 2021, agents observed the SUBJECT VEHICLE parked once again

at the Safeway store in Susanville, California and observed MAYNARD to still be in control of

the SUBJECT VEHICLE. A short time later, agents observed MAYNARD depart the Safeway

store. Moments later, I observed an officer with the Susanville Police Department conduct a

traffic stop of MAYNARD as he drove through Susanville in the SUBJECT VEHICLE. I
observed the SUBJECT VEHICLE yield to the police officer by pulling off of the road and in to

the business parking lot of the Lumberjack’s Restaurant located at 2795 Main Street, Susanville,

California 96130. Moments later, I observed two Susanville police officers speaking with

MAYNARD who was seated in the driver seat of the SUBJECT VEHICLE. At this time, I

installed a magnetic vehicle tracking device under the rear portion of the SUBJECT VEHICLE.
A couple minutes later, I observed MAYNARD continuing along in the SUBJECT VEHICLE.

       I.      Tracking of the Maynard and the Subject Vehicle
       56.     Following this installation of the vehicle tracking device, USFS agents utilized the
location data obtained from the vehicle tracking device to check areas where the SUBJECT

VEHICLE travelled and stopped. Between August 3 and August 7, 2021 agents observed

MAYNARD to always be the only occupant of the SUBJECT VEHICLE. At no time did agents

witness any other people inside the SUBJECT VEHICLE or, in any manner, associated with the
SUBJECT VEHICLE, other than MAYNARD.

       57.     On August 3, 2021, following the installation of the tracking device, agents

followed MAYNARD from Susanville along Highway 36 where MAYNARD eventually turned
north on Mooney Road. Agents observed MAYNARD drive approximately five miles north

along Mooney Road before turning on to a rocky dirt road where he drove several hundred yards


 AFFIDAVIT OF TYLER BOLEN                       16
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 17 of 32

before parking. At that point, and consistently throughout the course of the entire tracking

period, agents observed that the tracking device was accurately recording MAYNARD’s location

in the SUBJECT VEHICLE. Later this day, agents observed MAYNARD depart this location

and continue north along Mooney Road. At this point, and for the remainder of the tracking

period, agents checked these remote forested routes and stopping points that tracking data

revealed for the SUBJECT VEHICLE, in order to check for evidence of arson. Later, on this
same day, tracking data revealed that MAYNARD had turned off of nearby Highway 44 and

drove approximately ½ mile up a dirt road and then drove and parked the SUBJECT VEHICLE

in a heavily vegetated area that is concealed from any areas where people would normally visit,

further referred to as Campsite 1. Prior to turning up this dirt road towards Campsite 1,

MAYNARD had driven the SUBJECT VEHICLE past a sign that informed the public that the
property was closed to all public entry—this portion of land was owned by a private timber

company, Sierra Pacific Industries, that owns sections of land within the Lassen National Forest.

According to the vehicle tracking data, the SUBJECT VEHICLE remained in the concealed

location of Campsite 1 for the remainder of August 3, 2021 and continued to remain in this

location throughout August 4, 2021.
        58.    On August 5, 2021 at approximately 4:33 p.m., the vehicle tracking data showed

the SUBJECT VEHICLE travelled from Campsite 1 back down to Highway 44. Instead of

turning west on Highway 44, which would have made sense as this was the direction that
MAYNARD eventually drove along to get to Redding, California that night, the SUBJECT

VEHICLE drove across Highway 44 and south on McCoy Road in to the Lassen National Forest.
Agents proceeded to check along MAYNARD’s route and stopping points for evidence of arson

and, indeed, located a wildland arson fire, as discussed next.

   V.         VI. ARSON INVESTIGATIONS ON THE LASSEN NATIONAL FOREST

        A.     Moon Fire on August 5, 2021
        59.    On August 5, 2021, tracking data showed that the SUBJECT VEHICLE
continued south on McCoy Road prior to eventually turning north on Mooney Road. Shortly
after the SUBJECT VEHICLE emerged form Mooney Road, USFS Officer Tim Stiefken located


 AFFIDAVIT OF TYLER BOLEN                       17
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 18 of 32

a wildfire burning along Mooney Road on the Lassen National Forest. Officer Stiefken poured

some water and took actions that helped contain the fire to a small location on the forest floor

that was approximately five feet wide, later named the Moon Fire. Later this day, I observed

MAYNARD to be the sole occupant of the SUBJECT VEHICLE.

       60.     The tracking data showed that the SUBJECT VEHICLE had travelled past this

location at approximately 5:53 p.m. As Officer Stiefken reported the Moon Fire, a responding
fire engine finished suppressing the fire and prevented it from spreading further in to the forest.

USFS Fire Investigators conducted an origin and cause investigation of the Mooney Fire. After

examining this fire area, investigators excluded all possible causes of this fire, except arson.

Investigators did not see any obvious ignition sources located within or near this fire. After

reviewing the tracking device data, I know that the SUBJECT VEHICLE drove along Mooney
Road during the timeframe that this wildland arson fire was set.

       61.     The tracking data showed that the SUBJECT VEHICLE had been travelling

approximately 55 miles per hour through the area where the Moon Fire ignited, which is an

average speed for this long paved straight-a-way road. The tracking data then showed that the

SUBJECT VEHICLE continued approximately ¾ mile north along Mooney Road where it
stopped along the shoulder of Mooney Road for one minute and eight seconds. I later observed

this fire and this stopping point where MAYNARD had stopped just north of the Moon Fire. I

observed that MAYNARD’s stopping point was at the end of a long straight-a-way and offered
MAYNARD an opportunity to possibly look back and see the location of the fire. Although the

tracking data indicated that MAYNARD had not stopped at the Moon Fire, the fire was along
Mooney Road on MAYNARD’s driver-side, offering the opportunity to deliver an aerial ignition

device from the driver’s side window. This area was under evacuation notice due to the massive

Dixie Fire that was still several miles away, but spreading that general direction.

       62.     Following the ignition of the Moon Fire, MAYNARD drove the SUBJECT
VEHICLE nearly 100 miles to Redding, California, stopping at an Arco AM/PM gas station on
Lake Boulevard. I observed MAYNARD at this gas station in Redding where he remained

parked at a gas pump for approximately one hour.


  AFFIDAVIT OF TYLER BOLEN                       18
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 19 of 32

       63.     Following this trip to the Arco AM/PM gas station in Redding, the tracking data

then showed the SUBJECT VEHICLE drove over 100 more miles along forest highways east of

Redding back towards the Lassen National Forest, only to return all the way back to the Redding

area, specifically a 7-11 gas station located just south of Redding in Anderson, California. I later

reviewed store video recordings of MAYNARD and the SUBJECT VEHICLE arriving and

purchasing a few beverage items at this 7-11 gas station. Following this 7-11 gas station trip,
tracking data then showed the SUBJECT VEHICLE returned all the way back, nearly 100 miles,

to the Lassen National Forest.

       64.     By August 6, at approximately 6:30 a.m., the tracking data showed the SUBJECT

VEHICLE was parked in a new location, further referred to as Campsite 2. Campsite 2 was not

located along a road, but was several hundred feet from the nearest dirt Forest Service road and
just a few miles from Campsite 1. Similar to Campsite 1, Campsite 2 was a heavily forested

location that was concealed from anybody travelling adjacent roadways. To reach Campsite 2,

MAYNARD had turned off of Highway 44 and on to Conard Road, passing a road closure sign

in the process and entering this emergency closure area. The air, at this point, had become

increasingly thick with smoke that was pouring in from the Dixie Fire. Despite the emergency
closure, closure signs, law enforcement presence at major roads, broadcasted Verizon Wireless

fire and evacuation alert messages, and the heavy smoke, MAYNARD continued seeking out

concealed areas to position himself in the closure area. After driving hundreds of miles after the
Moon Fire, only to return to the area and settle at Campsite 2, all tracking data locations showed

the SUBJECT VEHICLE remained at Campsite 2 for approximately the next 28 hours until
MAYNARD eventually began driving again during the morning hours of August 7, 2021.

       B.      Ranch Fire on August 7, 2021 (Charged Count for Complaint)
       65.     On August 7, 2021, at approximately 10:39 a.m., vehicle tracking data showed

that the SUBJECT VEHICLE began travelling away from Campsite 2 and drove along Forest

Service Road 30N42A to Forest Service Road 30N42 and then south along Conard Road on the
Lassen National Forest in Lassen County. Later on this same day and in this same general area

of the Lassen National Forest, officers identified MAYNARD as the driver and sole occupant of


 AFFIDAVIT OF TYLER BOLEN                        19
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 20 of 32

the SUBJECT VEHICLE.

        66.    Agents began inspecting the locations and routes where the tracking data showed
the SUBJECT VEHICLE had travelled and stopped. From Highway 44, I hiked several hundred

yards towards Campsite 2 where the SUBJECT VEHICLE had been parked for approximately

the previous 28 hours. As I neared Campsite 2, I observed a large column of grey and black

smoke rising from the forest. I ran back to my vehicle and proceeded to notify the local USFS

Fire Dispatch Center. I then returned to the fire, later named the Ranch Fire, and observed the
wildfire burning along the forest floor, trees, and brush—an area that consisted of approximately

½ to 1 acre in size. I then observed the tire track impressions that had been left behind by the

SUBJECT VEHICLE, which were located at the edge of this new wildland fire. According to

the vehicle tracking data, these tire track impressions in the soil were in the same location that

the SUBJECT VEHICLE had just been present for the previous 28 hours. I observed that the
location of Campsite 2 and the recently ignited fire was not along a road. To access this location

where the SUBJECT VEHICLE had been parked, which I could tell by the tire track impressions

at the edge of this new wildland fire, the SUBJECT VEHICLE had been driven off-road and

navigated over 100 feet around trees and brush and was concealed from all roads in the general

area.
        67.    California Department of Forestry and Fire Protection (CAL FIRE) Law

Enforcement Officer Mark Rotlisberger responded to this new fire to conduct an origin and cause
investigation. Officer Rotlisberger has been a qualified wildland fire investigator for

approximately nine years and has investigated or assisted with the investigation of over 100

wildland fires, to include many wildland arson fires.
        68.    Officer Rotlisberger located and examined the specific origin area where the

Ranch Fire first ignited. This location was located next to the tire tracks impressions where the

SUBJECT VEHICLE had been present. This origin area was within the Lassen National Forest

and portions of the fire then spread to land owned by Sierra Pacific Industries. Following his
examination of the specific origin area, Officer Rotlisberger determined the fire had first ignited

on the forest floor where the remnants of leaves, pine needles, and broken bottles remained.


  AFFIDAVIT OF TYLER BOLEN                       20
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 21 of 32

Investigators did not locate any sources that had ignited the fire. After considering all potential

causes of the Ranch Fire, Officer Rotlisberger determined the Ranch Fire’s probable cause as

arson. Based on the vehicle tracking data that placed the SUBJECT VEHICLE at the fire’s

origin during the time-frame this fire ignited and learning the results of the origin and cause

investigation findings, the evidence indicated that MAYNARD had set this fire with an unknown

fire-setting device.

        C.      Conard Fire on August 7, 2021
        69.     Shortly after I located the Ranch Fire, USFS Special Agent Ted Williams was

inspecting another area approximately three miles away where the tracking data showed the

SUBJECT VEHICLE had travelled towards and then stopped about six minutes after departing
Campsite 2. The tracking data showed that the SUBJECT VEHICLE had stopped in this new

location for over 30 minutes. It was here that Agent Williams discovered a second fire, later

named the Conard Fire. Agent Williams observed this firehad spread through approximately ½

to 1 acre of the Lassen National Forest. According to the tracking data, the SUBJECT

VEHICLE had driven to this exact location and stopped at this location at approximately 10:45
a.m.—just minutes after departing the location where MAYNARD is suspected to have set the

Ranch Fire a few miles away.

        70.     Officer Rotlisberger conducted the origin and cause investigation of the Conard

Fire. Officer Rotlisberger located and examined the specific origin area where the Conard Fire
first ignited. Officer Rotlisberger did not locate any sources that had ignited this fire. After

considering all potential causes of the Conard Fire, Officer Rotlisberger determined the Conard

Fire’s probable cause as arson. Based on the vehicle tracking data that placed the SUBJECT

VEHICLE within a few feet of the Conard Fire’s specific origin area during the time-frame this

fire ignited and learning the results of the origin and cause investigation findings, the evidence
indicated that MAYNARD had set this fire with an unknown fire-setting device. It appeared that

MAYNARD was in the midst of an arson-setting spree.




  AFFIDAVIT OF TYLER BOLEN                        21
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 22 of 32

         D.    Conard Arrested in the Closure Area
         71.   Following the ignition of the two wildland arson fires, the vehicle tracking data
showed the SUBJECT VEHICLE continued travelling around nearby forest roads on the Lassen

National Forest. State and local law enforcement officers responded to the area after overhearing

there were multiple new fires set in the area. MAYNARD eventually returned to an area not far

from the Conard Fire that MAYNARD is suspected to have ignited just a few hours earlier.

Based on my training and experience, I know that arsonists have been known to return to their
fires.

         72.   California Highway Patrol (CHP) Officer Bob Wilburn observed MAYNARD

driving the SUBJECT VEHICLE through the emergency closure area towards the Conard Fire

that was located just a few miles away. At that time, Officer Wilburn contacted MAYNARD for

his unauthorized presence in the closure area. Officer Wilburn identified the driver and sole
occupant of the SUBJECT VEHICLE as GARY STEPHEN MAYNARD. During Officer

Wilburn’s discussion with MAYNARD, Officer Wilburn detected an odor consistent with

marijuana emanating from the SUBJECT VEHICLE. Officer Wilburn advised me that a

probable cause search for open containers of marijuana was conducted of the SUBJECT

VEHICLE, which resulted in Officer Wilburn locating an open container of marijuana and
issuing a citation to MAYNARD for having an open container of marijuana present in the

SUBJECT VEHICLE. Officer Wilburn advised me that he recalled seeing MAYNARD’s flat-

style cellular phone sitting on the top of the dashboard in the SUBJECT VEHICLE and recalled

that he could see the phone’s front screen through the windshield and the screen displayed a map

application that read somethings along the lines of, “directions to Old Station, avoid highways.”
         73.   Following the CHP traffic stop of the SUBJECT VEHICLE, Lassen County

Sheriff’s Deputies arrested MAYNARD for his violation of California Penal Code 409.5,

unauthorized entry into a closed emergency area.

         74.   USFS agents met with MAYNARD and advised MAYNARD of his Miranda
Rights. MAYNARD voluntarily waived his Miranda Rights and agreed to speak with agents.

During this interview, MAYNARD advised that he had stayed in Old Station the previous night.


  AFFIDAVIT OF TYLER BOLEN                      22
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 23 of 32

Old Station is a community approximately 50 miles west of Campsite 2. I know, based on the

tracking data and agents’ observations, that MAYNARD had not been staying in Old Station the

previous night. MAYNARD further advised that he had arrived earlier that day, having driven

from Old Station along Highway 44 and into the forested area where he had been hiking for

about an hour prior to being arrested. MAYNARD denied setting any fires. Agents advised

MAYNARD that his tire tracks were located next to a nearby wildland fire. MAYNARD denied
setting any fires and, at one point, stated that if the agents were going to accuse him of starting

fires that he would defend himself in court.

       75.     Lassen County Sheriff Deputy Steven Lawton booked MAYNARD in to the

Lassen County Jail for violating California Penal Code 409.5, unauthorized entry into a closed

emergency area. Later that evening, Deputy Lawton advised MAYNARD that a felony charge
of arson (California Penal Code 451) was being added. At that point, Deputy Lawton advised

me that MAYNARD became enraged and began kicking the jail cell door and screamed, “I’m

going to kill you, fucking pig! I told those fuckers I didn’t start any of those fires!”

       76.     Following MAYNARD’s arrest, the SUBJECT VEHICLE was removed by USFS

officers and is currently being stored as evidence of arson at a secure Forest Service facility in
Susanville. MAYNARD’s personal property, to include his phone, was secured within the

SUBJECT VEHICLE at the time MAYNARD was arrested.

       E.      Search of Subject Vehicle and Contents
       77.     Based on my training and experience, I know that vehicles are commonly used by

arsonists during the commission of their fire-setting crimes. I know that vehicles used by

arsonists often contain the instrumentalities of their fire-setting crimes such as matches, lighters,

and incendiary devices. Based on my training and experience, I know that other evidence of
arson is often contained within their vehicles such as items that exhibit burn marks, soot, or ash.

During the course of this investigation, agents determined that MAYNARD appeared to be living

out of the SUBJECT VEHICLE, further leading agents to believe that most of his possessions, to
include any evidence, fruits, and instrumentalities of arson are contained within the SUBJECT

VEHICLE.


  AFFIDAVIT OF TYLER BOLEN                        23
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 24 of 32

       78.     Based on this investigation, the recently identified cellular phone number being

used by MAYNARD, and the recent observations of CHP Officer Wilburn, I know the

SUBJECT VEHICLE currently contains at least one cellular phone and one laptop computer

because Officer Wilburn told me he observed a cell phone and a laptop computer sitting in plain

view during his traffic stop with MAYNARD. I believe that MAYNARD owned and/or

possessed this cell phone and laptop computer during the time he committed the recent arsons
and these devices therefore contain evidence of MAYNARD’s arson-related activities, such as

photographs, video recordings, and location data. Based on my training and experience, I know

that cell phones and computers often contain particular information about the user’s location

history, internet search history, videos, photographs, electronic communications such as emails

and text messages, notes, and various electronic accounts. I also know through experience, that
it is not uncommon for one person to possess more than one cellular phone.

       79.     Based on my training and experience, I know that arsonists are often infatuated

with fires and that electronic devices and electronic storage devices may contain records and

information related to arsonists, firefighting, fire departments, law enforcement departments, fire

investigations, fire laws and regulations, incendiary devices, articles related to fires. Based on
my training and experience, I know that many electronic devices have capabilities that may

reveal the location of MAYNARD, the SUBJECT VEHICLE, or devices including maps,

journals, logs and communications in whatever form, as well as digital location data and records
from devices and applications on devices such as cellular phones and GPS devices.

       80.     I also know, as described above, that MAYNARD has traveled over vast portions
of California over at least the last month. Based on my training and experience, I know that

arsonists commonly set more than one arson fire and that some arsonists scout areas in which to

set fires before setting them. As a result, I believe that information related to MAYNARD’s

travel in the months leading up to the arson fires described above may provide evidence related
to those fires. Arsonists may also conduct internet research regarding fires, locations to set fires,
incendiary devices and conditions favorable for setting fires (such as favorable weather

conditions). This type of research can remain in the search history on a phone or other digital


  AFFIDAVIT OF TYLER BOLEN                       24
         Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 25 of 32

device long after the internet search is completed. In particular, MAYNARD’s fires as described

above were set in the vicinity of other large ongoing wildfires. Based on this proximity, it is

likely that MAYNARD had previous knowledge that these wildfires were ongoing and selected

the location to set his fires based on that knowledge.

         81.    Based on my training and experience, I also know that the condition of a vehicle

can be evidence of arson. Evidence that a vehicle is working properly, or working in a manner
inconsistent with having started a particular fire, can be evidence of arson because it eliminates a

potential cause of an arson-fire. As a result, if a vehicle is mechanically inspected and

eliminated as a potential cause of a fire, it is more likely that a fire was intentionally set.

   VI.         COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS
         82.    As described above and in Attachment B, this application seeks permission to

search for records that might be found on in the SUBJECT VEHICLE, in whatever form they are

found. One form in which the records might be found is data stored on a computer’s hard drive
or other storage media. Thus, the warrant applied for would authorize the seizure of electronic

storage media or, potentially, the copying of electronically stored information, all under Rule

41(e)(2)(B).

         83.    Probable cause. I submit that if a computer or storage medium is in the
SUBJECT VEHICLE, there is probable cause to believe those records will be stored on that

computer or storage medium, for at least the following reasons:

                a. Based on my knowledge, training, and experience, I know that computer files

                    or remnants of such files can be recovered months or even years after they

                    have been downloaded onto a storage medium, deleted, or viewed via the
                    Internet. Electronic files downloaded to a storage medium can be stored for

                    years at little or no cost. Even when files have been deleted, they can be

                    recovered months or years later using forensic tools. This is so because when

                    a person “deletes” a file on a computer, the data contained in the file does not
                    actually disappear; rather, that data remains on the storage medium until it is
                    overwritten by new data.


  AFFIDAVIT OF TYLER BOLEN                         25
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 26 of 32

                b. Therefore, deleted files, or remnants of deleted files, may reside in free space

                    or slack space—that is, in space on the storage medium that is not currently

                    being used by an active file—for long periods of time before they are

                    overwritten. In addition, a computer’s operating system may also keep a

                    record of deleted data in a “swap” or “recovery” file.

                c. Wholly apart from user-generated files, computer storage media—in
                    particular, computers’ internal hard drives—contain electronic evidence of

                    how a computer has been used, what it has been used for, and who has used it.

                    To give a few examples, this forensic evidence can take the form of operating

                    system configurations, artifacts from operating system or application

                    operation, file system data structures, and virtual memory “swap” or paging
                    files. Computer users typically do not erase or delete this evidence, because

                    special software is typically required for that task. However, it is technically

                    possible to delete this information.

                d. Similarly, files that have been viewed via the Internet are sometimes

                    automatically downloaded into a temporary Internet directory or “cache.”
       84.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how
computers were used, the purpose of their use, who used them, and when. There is probable

cause to believe that this forensic electronic evidence will be on any storage medium in the
SUBJECT VEHICLE because:

             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file).
                Virtual memory paging systems can leave traces of information on the storage
                medium that show what tasks and processes were recently active. Web browsers,

                e-mail programs, and chat programs store configuration information on the


 AFFIDAVIT OF TYLER BOLEN                         26
      Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 27 of 32

             storage medium that can reveal information such as online nicknames and

             passwords. Operating systems can record additional information, such as the

             attachment of peripherals, the attachment of USB flash storage devices or other

             external storage media, and the times the computer was in use. Computer file

             systems can record information about the dates files were created and the

             sequence in which they were created, although this information can later be
             falsified.

         b. As explained herein, information stored within a computer and other electronic

             storage media may provide crucial evidence of the “who, what, why, when,

             where, and how” of the criminal conduct under investigation, thus enabling the

             United States to establish and prove each element or alternatively, to exclude the

             innocent from further suspicion. In my training and experience, information

             stored within a computer or storage media (e.g., registry information,
             communications, images and movies, transactional information, records of

             session times and durations, internet history, and anti-virus, spyware, and

             malware detection programs) can indicate who has used or controlled the

             computer or storage media. This “user attribution” evidence is analogous to the

             search for “indicia of occupancy” while executing a search warrant at a residence.
             The existence or absence of anti-virus, spyware, and malware detection programs

             may indicate whether the computer was remotely accessed, thus inculpating or

             exculpating the computer owner. Further, computer and storage media activity

             can indicate how and when the computer or storage media was accessed or used.

             For example, as described herein, computers typically contains information that
             log: computer user account session times and durations, computer activity

             associated with user accounts, electronic storage media that connected with the

             computer, and the IP addresses through which the computer accessed networks
             and the internet. Such information allows investigators to understand the



AFFIDAVIT OF TYLER BOLEN                      27
      Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 28 of 32

             chronological context of computer or electronic storage media access, use, and

             events relating to the crime under investigation. Additionally, some information

             stored within a computer or electronic storage media may provide crucial

             evidence relating to the physical location of other evidence and the suspect. For

             example, images stored on a computer may both show a particular location and

             have geolocation information incorporated into its file data. Such file data
             typically also contains information indicating when the file or image was created.

             The existence of such image files, along with external device connection logs,

             may also indicate the presence of additional electronic storage media (e.g., a

             digital camera or cellular phone with an incorporated camera). The geographic

             and timeline information described herein may either inculpate or exculpate the
             computer user. Last, information stored within a computer may provide relevant

             insight into the computer user’s state of mind as it relates to the offense under

             investigation. For example, information within the computer may indicate the

             owner’s motive and intent to commit a crime (e.g., internet searches indicating

             criminal planning), or consciousness of guilt (e.g., running a “wiping” program to
             destroy evidence on the computer or password protecting/encrypting such

             evidence in an effort to conceal it from law enforcement).

         c. A person with appropriate familiarity with how a computer works can, after
             examining this forensic evidence in its proper context, draw conclusions about

             how computers were used, the purpose of their use, who used them, and when.

         d. The process of identifying the exact files, blocks, registry entries, logs, or other

             forms of forensic evidence on a storage medium that are necessary to draw an

             accurate conclusion is a dynamic process. While it is possible to specify in

             advance the records to be sought, computer evidence is not always data that can

             be merely reviewed by a review team and passed along to investigators. Whether
             data stored on a computer is evidence may depend on other information stored on



AFFIDAVIT OF TYLER BOLEN                      28
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 29 of 32

                  the computer and the application of knowledge about how a computer behaves.

                  Therefore, contextual information necessary to understand other evidence also

                  falls within the scope of the warrant.

             e. Further, in finding evidence of how a computer was used, the purpose of its use,

                  who used it, and when, sometimes it is necessary to establish that a particular

                  thing is not present on a storage medium. For example, the presence or absence

                  of counter-forensic programs or anti-virus programs (and associated data) may be

                  relevant to establishing the user’s intent.

             f.   I also know that when an individual uses a computer or other electronic device in

                  the course of committing a wildland arson, the individual’s computer may serve

                  both as an instrumentality for committing the crime, and also as a storage medium

                  for evidence of the crime. The computer can be an instrumentality of the crime
                  because it can be used as a means of committing the criminal offense, for

                  example, by searching the internet for information regarding arson, setting fires,

                  tools and techniques used by investigators investigating arson-fires as well as

                  techniques for making it more difficult to detect arson, fire suppression and

                  detection methods, and weather reports (to determine if conditions are favorable
                  for setting an arson fires). The computer is also likely to be a storage medium for

                  evidence of crime. From my training and experience, I believe that a computer

                  used to commit a crime of this type may contain: data that is evidence of how the

                  computer was used; data that was sent or received; notes, photographs or videos

                  as to how the criminal conduct was achieved; records of Internet discussions
                  about the crime; and other records that indicate the nature of the offense.

       85.        Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often
requires the seizure of the physical storage media and later off-site review consistent with the



 AFFIDAVIT OF TYLER BOLEN                           29
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 30 of 32

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer’s data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded

on the storage media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:
           a. The time required for an examination. As noted above, not all evidence takes the

               form of documents and files that can be easily viewed on site. Analyzing

               evidence of how a computer has been used, what it has been used for, and who

               has used it requires considerable time, and taking that much time on premises

               could be unreasonable. As explained above, because the warrant calls for forensic
               electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

               examine storage media to obtain evidence. Storage media can store a large

               volume of information. Reviewing that information for things described in the

               warrant can take weeks or months, depending on the volume of data stored, and

               would be impractical and invasive to attempt on-site.

           b. Technical requirements. Computers can be configured in several different ways,

               featuring a variety of different operating systems, application software, and

               configurations. Therefore, searching them sometimes requires tools or knowledge
               that might not be present on the search site. The vast array of computer hardware

               and software available makes it difficult to know before a search what tools or

               knowledge will be required to analyze the system and its data on the Premises.

               However, taking the storage media off-site and reviewing it in a controlled

               environment will allow its examination with the proper tools and knowledge.

           c. Variety of forms of electronic media. Records sought under this warrant could be
               stored in a variety of storage media formats that may require off-site reviewing

               with specialized forensic tools.


 AFFIDAVIT OF TYLER BOLEN                         30
        Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 31 of 32

       86.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in
order to determine whether it is evidence described by the warrant.

                                    VII.      CONCLUSION
       87.      Based on the above facts, I submit that there is probable cause to believe that
GARY STEPHEN MAYNARD committed violations of 18 U.S.C. § 1855, which criminalizes

willfully setting fire to any timber, underbrush, or grass upon lands owned by the United States.

       88.      Based on the facts set forth in this Affidavit, I request that search warrants be

issued for the vehicle, described further in Attachments A, for the evidence described in
Attachment B.

       89.      Based on the same facts as set forth in this Affidavit, I also request that a criminal

complaint and arrest warrant be issued for GARY STEPHEN MAYNARD.

                                VIII.      SEALING REQUEST
       90.      I further request that the Court seal the warrants and this Affidavit and the

application in support thereof, except that copies of the warrant in full or redacted form may be

maintained by the United States Attorney’s Office and may be served on Special Agents and

other investigative and law enforcement officers of the USFS, federally deputized state and local
law enforcement officers, and other government and contract personnel acting under the

supervision of such investigative or law enforcement officers, as necessary to effectuate the

warrants.

       91.      These documents pertain to and discuss an ongoing criminal investigation that is

not public nor is all information regarding the ongoing investigation known to its target.
Accordingly, there is good cause to seal these documents because their premature disclosure may

jeopardize the investigation by disclosing the facts known to investigators before they can


 AFFIDAVIT OF TYLER BOLEN                         31
          Case 2:21-cr-00224-TLN Document 1-1 Filed 08/08/21 Page 32 of 32

  complete the investigation and preserve all of the evidence. Sealing these documents will also

  better ensure the safety of agents and others charged with executing the warrants in the event that

  MAYNARD is released from state custody before agents are able to serve the arrest warrant

  sought in this application.

          92.     I further request that the criminal complaint and affidavit be unsealed upon arrest

  of defendant MAYNARD.


                                                             Respectfully submitted,

                                                             /s/ Tyler Bolen
                                                             TYLER BOLEN
                                                             Special Agent
                                                             U.S. Forest Service



   Subscribed and sworn to before me telephonically on: August 8, 2021



   The Honorable Dennis M. Cota
   UNITED STATES MAGISTRAT JUDGE

Dated: August 8, 2021
                                                    ____________________________________
                                                    DENNIS M. COTA
                                                    UNITED STATES MAGISTRATE JUDGE




   /s/ Michael D. Anderson
   Approved as to form by AUSA MICHAEL D.
   ANDERSON




    AFFIDAVIT OF TYLER BOLEN                       32
